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   United States Court of Appeals
       for the Federal Circuit
                  ______________________

                EVOLVED WIRELESS, LLC,
                    Plaintiff-Appellant

                            v.

     HTC CORPORATION, HTC AMERICA, INC.,
    MOTOROLA MOBILITY LLC, ZTE (USA) INC.,
     MICROSOFT CORPORATION, MICROSOFT
       MOBILE OY, NOKIA INC., SAMSUNG
       ELECTRONICS CO., LTD., SAMSUNG
         ELECTRONICS AMERICA, INC.,
              Defendants-Appellees
             ______________________

  2020-1335, 2020-1337, 2020-1339, 2020-1340, 2020-1363
                 ______________________

   Appeals from the United States District Court for the
    District of Delaware in Nos. 1:15-cv-00543-JFB-SRF,
 1:15-cv-00544-JFB-SRF, 1:15-cv-00546-JFB-SRF, 1:15-cv-
  00547-JFB-SRF, 1:15-cv-00545-JFB-SRF, Senior Judge
                     Joseph F. Bataillon.
                   ______________________

                       MANDATE
                  ______________________

    In accordance with the judgment of this Court, entered
 January 26, 2021, and pursuant to Rule 41 of the Federal
 Rules of Appellate Procedure, the formal mandate is
 hereby issued.


                                 FOR THE COURT

 March 4, 2021                   /s/ Peter R. Marksteiner
                                 Peter R. Marksteiner
                                 Clerk of Court
